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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA                                    CASE NUMBER:

                                                                              ED CR 15-93-JGB
                                             PLAINTIFF(S)
                             v.
DEFENDANT,                                                           NOTICE OF MANUAL FILING
                                                                           OR LODGING
                                           DEFENDANT(S).

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Government's Ex Parte Application for Order Sealing Documents; Declaration of Julius J. Nam;
[Proposed] Order Sealing Documents; and
Documents Filed Under Seal




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 ✔        Under Seal
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          Per Court order dated:
          Other:




August 6, 2019                                                JULIUS J. NAM
Date                                                          Attorney Name
                                                              UNITED STATES OF AMERICA
                                                              Party Represented


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G-92 (05/15)                             NOTICE OF MANUAL FILING OR LODGING
